     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 1 of 16



 1   WO
 2
 3
 4
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Danny Lee Jones,                                No. CV-01-00384-PHX-SRB
10                        Petitioner,                DEATH PENALTY CASE
11   v.                                              ORDER
12   Charles L. Ryan, et al.,
13                        Respondents.
14
15          This case is before the Court on remand from the Ninth Circuit Court of Appeals.
16          A quarter century ago, Danny Jones was convicted of two counts of first-degree
17   murder and one count of attempted first-degree murder. On March 26, 1992, Jones killed
18   his friend Robert Weaver with a baseball bat. He then attacked Weaver’s seventy-four-
19   year-old grandmother with the bat; she died from her injuries after trial, having spent
20   seventeen months in a coma. Finally, Jones killed Weaver’s seven-year-old daughter,
21   Tisha, dragging her out from under her bed, beating her with the bat, and then strangling
22   or suffocating her. State v. Jones, 185 Ariz. 471, 477–78, 917 P.2d 200, 206–07 (1996).
23   The trial judge sentenced Jones to death. The Arizona Supreme Court affirmed. Id.
24          After unsuccessfully pursuing post-conviction relief (“PCR”) in state court, Jones
25   filed a preliminary federal habeas corpus petition in this Court on February 28, 2001
26   (Doc. 1), and filed an amended petition on September 13, 2002 (Doc. 54). Jones also
27   moved for evidentiary development. (See Docs. 104, 120.) The Court granted his requests
28   for expansion of the record and an evidentiary hearing in support of Claims 20(O), (P),
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 2 of 16



 1   and (T), alleging various instances of ineffective assistance of counsel at sentencing.
 2   (Doc. 121.) After holding a three-day evidentiary hearing in March 2006, the Court
 3   denied the claims, as well as Jones’s remaining habeas claims. (Docs. 220, 221.)
 4          The Ninth Circuit Court of Appeals reversed. Jones v. Ryan, 583 F.3d 626, 647
 5   (9th Cir. 2009). On April 18, 2011, however, the United States Supreme Court granted
 6   Respondents’ petition for certiorari, vacated the judgment, and remanded to the Ninth
 7   Circuit for further consideration in light of Cullen v. Pinholster, 563 U.S. 170 (2011).
 8   Ryan v. Jones, 563 U.S. 932 (2011).
 9          Three years later, after briefing and oral argument, the Ninth Circuit vacated and
10   deferred submission of the case pending the decision in Dickens v. Ryan, 740 F.3d 1302
11   (9th Cir. 2014) (en banc). Jones v. Ryan, No. 07-9900 (9th Cir. Sep. 05, 2013). Shortly

12   after the decision, the Ninth Circuit remanded Jones’s case to this Court to consider,

13   under Dickens and Martinez v. Ryan, 566 U.S. 1 (2012), “Jones’s argument that his

14   ineffective assistance of counsel claims are unexhausted and therefore procedurally

15   defaulted, and that deficient performance by his counsel during his post-conviction relief

16   case in state court excuses the default.” (Doc. 240-2.)
                                       APPLICABLE LAW
17
            Federal habeas claims are analyzed under the framework of the Antiterrorism and
18
     Effective Death Penalty Act (“AEDPA”). The AEDPA provides that a petitioner is not
19
     entitled to habeas relief on any claim adjudicated on the merits in state court unless the
20
     state court’s adjudication (1) resulted in a decision that was contrary to, or involved an
21
     unreasonable application of, clearly established federal law, or (2) resulted in a decision
22
     that was based on an unreasonable determination of the facts in light of the evidence
23
     presented in state court. 28 U.S.C. § 2254(d).
24
            In Pinholster, the Court emphasized that “review under § 2254(d)(1) is limited to
25
     the record that was before the state court that adjudicated the claim on the merits.” 563
26
     U.S. at 181. “The federal habeas scheme leaves primary responsibility with the state
27
     courts . . . .” Woodford v. Visciotti, 537 U.S. 19, 27 (2002). As the Court explained in
28
     Pinholster:


                                                 -2-
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 3 of 16



 1         Section 2254(b) requires that prisoners must ordinarily exhaust state
 2         remedies before filing for federal habeas relief. It would be contrary to that
           purpose to allow a petitioner to overcome an adverse state-court decision
 3         with new evidence introduced in a federal habeas court and reviewed by
           that court in the first instance effectively de novo.
 4
 5   563 U.S. at 182.

 6          For claims not adjudicated on the merits in state court, federal review is generally

 7   not available when the claims have been denied pursuant to an independent and adequate

 8   state procedural rule. Coleman v. Thompson, 501 U.S. 722, 750 (1991). For such claims,

 9   “federal habeas review . . . is barred unless the prisoner can demonstrate cause for the

10   default and actual prejudice as a result of the alleged violation of federal law, or
     demonstrate that failure to consider the claims will result in a fundamental miscarriage of
11
     justice.” Coleman, 501 U.S. at 750. Coleman held that ineffective assistance of counsel in
12
     PCR proceedings does not establish cause for the procedural default of a claim. Id.
13
           In Martinez v. Ryan, 566 U.S. 1 (2012), however, the Court established a “narrow
14
     exception” to the rule announced in Coleman. Under Martinez, a petitioner may establish
15
     cause for the procedural default of an ineffective assistance claim “by demonstrating two
16
     things: (1) ‘counsel in the initial-review collateral proceeding, where the claim should
17
     have been raised, was ineffective under the standards of Strickland v. Washington, 466
18
     U.S. 668 (1984)’ and (2) ‘the underlying ineffective-assistance-of-trial-counsel claim is a
19
     substantial one, which is to say that the prisoner must demonstrate that the claim has
20
     some merit.’” Cook v. Ryan, 688 F.3d 598, 607 (9th Cir. 2012) (quoting Martinez, 566
21
     U.S. at 14); see Clabourne v. Ryan, 745 F.3d 362, 377 (9th Cir. 2014), overruled on other
22
     grounds by McKinney v. Ryan, 813 F.3d 798 (9th Cir. 2015).
23
            In Dickens, the Ninth Circuit held that factual allegations not presented to a state
24
     court may render a claim unexhausted, and thereby subject to analysis under Martinez, if
25
     the new allegations “fundamentally alter” the claim presented and considered by the state
26
     courts. 740 F.3d at 1318. A claim has not been fairly presented in state court if new
27   evidence fundamentally alters the legal claim already considered by the state court or
28   places the case in a significantly different and stronger evidentiary posture than it was


                                                -3-
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 4 of 16



 1   when the state court considered it. Id. at 1318–19 (citing Vasquez v. Hillary, 474 U.S.
 2   254, 260 (1986); Aiken v. Spalding, 841 F.2d 881, 883 (9th Cir. 1988); Nevius v. Sumner,
 3   852 F.2d 463, 470 (9th Cir. 1988)).
 4          In state court Dickens argued that sentencing counsel provided ineffective
 5   assistance for failing to direct the work of a court-appointed psychologist and failed to
 6   adequately investigate Dickens’s background. More specifically, Dickens alleged that
 7   counsel “conducted no investigation whatsoever into the possibility [petitioner] was
 8   suffering from any medical or mental impairment,” and failed to direct the psychologist
 9   to any particular mitigating evidence. In his federal habeas petition, however, Dickens
10   included extensive factual allegations suggesting that he suffered from Fetal Alcohol
11   Syndrome (FAS) and organic brain damage. The Ninth Circuit

12          reject[ed] any argument that Pinholster bars the federal district court's
            ability to consider Dickens’s “new” IAC [ineffective assistance of counsel]
13          claim. The state argues that the district court cannot consider new
14          allegations or evidence proffered for the first time to the district court.
            In Pinholster, the Supreme Court made clear that a federal habeas court
15          may not consider evidence of a claim that was not presented to the state
16          court. However, this prohibition applies only to claims previously
            “adjudicated on the merits in State court proceedings.”
17
                   Pinholster does not bar Dickens from presenting evidence of his
18
            “new” IAC claim, because the claim was not “adjudicated on the merits” by
19          the Arizona courts. While the Arizona courts did previously adjudicate a
            similar IAC claim, the new allegations and evidence “fundamentally
20          altered” that claim . . . .
21
     Id. at 1320 (citations omitted).
22
                                           DISCUSSION
23
            At issue are three claims of ineffective assistance of counsel at sentencing. Jones
24
     previously argued that the claims were exhausted in state court, Respondents conceded
25
     that the claims were exhausted, and the Court found that the claims were exhausted. (See
26
     Doc. 90 at 7; Doc. 121.) The claims are as follows.
27
            In Claim 20(O), Jones alleged that his trial counsel performed ineffectively by
28
     failing to secure the appointment of partisan mental health experts, specifically a


                                               -4-
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 5 of 16



 1   neuropsychologist and neurologist, who could have revealed Jones’s “neurological
 2   disorders and organic mental illness.” (Doc. 54 at 126.) In Claim 20(P), Jones alleged that
 3   counsel performed ineffectively by failing to make a timely motion seeking neurological
 4   and neuropsychological testing. (Id. at 126.) In Claim 20(T), Jones alleged that counsel
 5   performed ineffectively by failing to present additional mitigation evidence focusing on
 6   Jones’s abusive childhood and the effects of his head trauma and drug abuse. (Id. at 129.)
 7          Pursuant to the remand order, this Court must consider whether Claims 20(O), (P),
 8   and (T), are fundamentally altered and therefore “new” and defaulted pursuant to Dickens
 9   and, if so, whether Jones can demonstrate cause and prejudice for the default under
10   Martinez.
11   1.     Background

12          A.     Sentencing proceedings

13          Jones was represented at trial by Mohave County Assistant Public Defender Lee

14   Novak and co-counsel Katie Carty. After Jones was convicted, on September 13, 1993,

15   the trial court set sentencing for November 8, 1993, ordered a presentence report

16   (“PSR”), and granted Jones’s request for a mental health examination.
            At a presentence conference on October 28, 1993, the court granted Novak’s
17
     unopposed request to continue sentencing and ordered Dr. Jack Potts, a forensic
18
     psychiatrist, to complete his evaluation by November 29, 1993. (ROA at 32; RT 10/28/93
19
     at 3–4.) Dr. Potts interviewed Jones on November 26, 1993. (RT 12/1/93 at 2.) He
20
     reviewed the PSR and prepared a report.
21
            The sentencing hearing was held on December 8, 1993. Novak presented
22
     testimony from Jones’s stepfather, Randy Jones (“Randy”), and Dr. Potts. Randy testified
23
     that Jones’s biological father, the first husband of Jones’s mother, physically abused her
24
     while she was pregnant—in one instance throwing her down a flight of stairs—and that
25
     during Jones’s birth her heart had stopped and forceps had been used to deliver the child.
26
     (RT 12/8/93 at 41, 44–45.) Randy testified that when Jones was four, he experienced
27
     black-outs, and for years thereafter bruised easily due to a calcium deficiency. (Id. at 42–
28
     46, 65.) He testified that Jones’s first stepfather, the second husband of Jones’s mother,


                                                -5-
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 6 of 16



 1   verbally and physically abused Jones, his half-sister, and his mother. (Id. at 42–
 2   46.) Randy also testified about various head injuries suffered by Jones, which occurred
 3   when Jones was approximately thirteen, fifteen, and nineteen years old. (Id. at 47–48, 49,
 4   50, 65.) In the first two incidents, Jones had fallen off roofs. (Id. at 48, 49, 65–67.) The
 5   last incident, which resulted in unconsciousness and hospitalization, occurred during a
 6   mugging while Jones was serving in the Marines. (Id. at 50.)
 7          Randy also testified about Jones’s history of drug and alcohol use, which began
 8   when he was about thirteen, and his participation in drug treatment programs, including
 9   an in-house facility in San Francisco where he stayed for almost two years. (Id. at 52–
10   61.) Randy described how Jones’s behavior deteriorated after he began abusing
11   substances; he also described Jones’s behavior as improving when he was placed on

12   lithium. (Id. at 51–52, 55–57, 60–61.)

13          Dr. Potts testified about the seven mitigating factors he identified in his report.

14   (Id.) He offered detailed testimony about the first factor, Jones’s “chaotic and abusive

15   childhood” and its effect on his mental health and development. (Id. at 80–83.) Dr. Potts

16   also listed as mitigating circumstances Jones’s history of significant substance abuse, the
     likelihood that he suffered from an attenuated form of bipolar disorder, the fact that he
17
     had a history of multiple head traumas, and genetic loading for substance abuse and
18
     affective disorders. (Id. at 83–92, 94–98, 100–04.) In discussing Jones’s head traumas,
19
     Dr. Potts noted that there were usually “long term neurologic sequelae” that can damage
20
     the brain and make it susceptible to other changes, such as lowered thresholds for
21
     aggressive outbursts. (Id. at 100.) He testified that additional testing would “clearly assist
22
     in coming to a more definitive conclusion” regarding whether Jones had brain damage.
23
     (Id. at 103.) He recommended additional neurological testing. (Id. at 137.)
24
            Following Dr. Potts’s testimony, Novak asked the court for a continuance to
25
     obtain the testing recommended by Dr. Potts. (Id. at 150–51, 165.) Novak explained that
26
     until he had received Dr. Potts’s report, two days prior to the hearing, and heard his
27
     testimony, he had not realized the significance of Jones’s history of head traumas with
28
     respect to possible neurological damage. (Id.) The prosecution opposed the request,


                                                 -6-
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 7 of 16



 1   arguing that a factual basis did not exist for neurological testing. (Id. at 153–54.) Novak
 2   replied that Dr. Potts had not had sufficient time prior to the hearing to obtain
 3   neurological testing after receiving materials from the parties. (Id. at 154–55.) The trial
 4   court denied the request. (Id. at 165.)
 5          The next day, prior to sentencing, Novak renewed his request for a continuance to
 6   obtain the testing recommended by Dr. Potts. To refute the prosecution’s suggestion that
 7   Jones’s head injuries and childhood abuse were wholly unsubstantiated, Novak proffered
 8   some of Jones’s military medical records documenting Jones’s head injury while he was
 9   in the Marines. (RT 12/9/93 at 6–8, 10–11.) The trial court admitted the records, but
10   again denied the request for a continuance. (Id. at 16–17.)
11          In sentencing Jones, the trial court found three aggravating factors as to both

12   murders: that they were committed (1) for pecuniary gain, (2) in an especially heinous,

13   cruel, or depraved manner, and (3) during the commission of one or more other

14   homicides. (ROA 117, 118.) With respect to Tisha’s murder, the court found a fourth

15   aggravating factor based on her age. (ROA 117.) The court found no statutory mitigating

16   circumstances with respect to either murder, but found several non-statutory factors: that
     Jones (1) suffered from long-term substance abuse, (2) was under the influence of alcohol
17
     and drugs at the time of the offense, (3) had a chaotic and abusive childhood, and (4) that
18
     his substance abuse problem might have been caused by genetic factors and aggravated
19
     by head trauma. (ROA 117, 118.) With respect to each murder conviction, the court
20
     found that the mitigating circumstances were not sufficiently substantial to outweigh the
21
     aggravating circumstances or to call for leniency and sentenced Jones to death for each
22
     murder. (Id.) The Arizona Supreme Court affirmed the convictions and sentences on
23
     direct appeal. Jones, 185 Ariz. 471, 917 P.2d 200.
24
            B.     PCR proceedings
25
            During the PCR proceedings, Jones was represented by attorney David Goldberg,
26
     who filed a petition raising 25 claims. (Doc. 247-1, Ex. A.) The following claims
27
     correspond to habeas Claims 20(O), (P), and (T):
28


                                                -7-
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 8 of 16



 1          Claim 24(I)(2): “Counsel’s reliance on a court appointed psychiatrist for
 2          sentencing was ineffective.” (Id. at 85.)

 3          Claim 24(I)(3): “Trial counsel’s failure to recognize the need for
            neurological and neuropsychological testing and presentation of the results
 4
            at sentencing was ineffective.” (Id. at 87.)
 5
            Claim 24(I)(7): “Trial counsel failed to present meaningful additional
 6
            witnesses and available evidence to support Jones’s proposed mitigation.”
 7          (Id. at 91.)
 8          In support of these claims, counsel filed several motions for appointment of
 9   experts and discovery. (See Doc. 90.) These included motions for disclosure of jail and
10   prison records, including any psychiatric/psychological evaluations, disciplinary records,
11   grading or population placement calculations, and family history. The motions were
12   granted. Counsel also filed motions seeking the appointment of an aggravation/mitigation
13   specialist, an Arizona certified criminal defense specialist, and a neuropsychologist.
14   Following oral argument, the court denied the motions.
15          On April 4, 2000, the PCR court held an evidentiary hearing on Claims 24(I)(3)
16   and 24(I)(7). Randy Jones and Jones’s mother testified, as did trial counsel
17   Novak. Randy testified that he first spoke with Novak in July 1992 by telephone, talked
18   with him again in October 1992, when Novak and his co-counsel visited the family in
19   Nevada, and spoke with him a third time just prior to sentencing in December 1993. (RT
20   4/4/00 at 10, 11, and 15.) During these conversations, Randy provided background
21   information about Jones’s childhood, head injuries, and history of drug abuse and
22   treatment. (Id.) Mrs. Jones testified that she informed Novak about the details of Jones’s
23   difficult birth, his head injuries, his drug use, which began at approximately age thirteen,
24   and the physical abuse he suffered from his first stepfather. (Id. at 26–36.) She also

25   testified that she told Novak that after she married Randy, Jones “had a normal childhood

26   as far as school [and] baseball,” and that they “had a good home life.” (Id. at 29.)

27          Novak testified that he began work on Jones’s defense immediately, and that one

28   of the tasks undertaken by co-counsel was to develop Jones’s life history. (Id. at 53–54.)



                                                 -8-
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 9 of 16



 1   He testified that he considered Dr. Potts “part of the defense team.” (Id. at 102.) He
 2   conceded, however, that if he were trying the case today he would immediately seek the
 3   appointment of a mitigation specialist. (Id. at 51.) He also testified that he only
 4   considered the need for a neurological exam after Dr. Potts testified at the sentencing
 5   hearing. (Id. at 99.)
 6          The PCR court denied relief on Claim 24(I)(2) without explanation or factual
 7   findings. (ROA–PCR 59 at 2.) The court denied Claim 24(I)(3) because Dr. Potts
 8   “adequately addressed defendant’s mental health issues at sentencing.” (ROA–PCR 73 at
 9   2–3). The court denied Claim 24(I)(7), finding that, “Testimony at the hearing showed
10   that counsel presented the available witnesses and evidence to support mitigation. The
11   additional witnesses and evidence suggested by Jones would have been redundant.” (Id.)

12   The court concluded that “Jones has not met its [sic] burden of proof of showing deficient

13   performance by trial counsel.” (Id.)

14   2.     Analysis

15          Jones argues that Claims 20(O), (P), and (T) are fundamentally altered and

16   unexhausted, and that their default is excused under Martinez by the ineffective
     assistance of PCR counsel. Respondents disagree. They also contend that the principles
17
     of judicial estoppel and law of the case prohibit Jones from now arguing that the claims
18
     are unexhausted. (Doc. 247 at 26–30.)
19
            Until the case was remanded, there was no dispute that these claims were properly
20
     exhausted in state court and subject to federal habeas review under 28 U.S.C. § 2254(d).
21
     This Court carried out that review after holding an evidentiary hearing to receive the
22
     evidence that Jones now argues renders the claims unexhausted under Dickens and
23
     subject to de novo review under Martinez.
24
            This scenario, which requires the Court to determine if PCR counsel performed
25
     ineffectively by failing to exhaust claims that the parties and the Court agreed were
26
     exhausted, is seemingly inconsistent with the goals of the AEDPA as defined in
27
28


                                                 -9-
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 10 of 16



 1   Pinholster.1 However, pursuant to the directive of the Ninth Circuit in its remand order,
 2   the Court addresses Jones’s arguments.
 3          A.     The claims are not fundamentally altered
 4          Jones contends that his state claims have been fundamentally altered and therefore
 5   are unexhausted and subject to de novo review. Citing the evidence produced in these
 6   habeas proceedings, Jones argues that the claims raised in state court have been “changed
 7   . . . in federal court to include extensive and detailed factual allegations proving that he
 8   suffers from Cognitive Dysfunction (brain damage), Poly-Substance Abuse, Post-
 9   Traumatic Stress Disorder (“PTSD”), Attention Deficit/Hyperactivity Disorder
10   (“AD/HD”) and Mood Disorder, Not Otherwise Specified (“NOS”).” (Doc. 246 at 37.)
11   Jones also cites evidence that “[c]ontributing factors to these disorders included Jones’s

12   prenatal exposure to chrome, nicotine and caffeine and his traumatic birth.” (Id.) Finally,

13   Jones cites the new or more-detailed allegations that “he was physically, mentally, and

14   sexually abused throughout his childhood” and “had a series of head injuries starting with

15   his traumatic birth and including a mugging while Jones was in the military.” (Id.) The

16   Court discussed this evidence in its order denying relief on Claims 20(O), (P), and (T).
     (Doc. 220 at 9–25.)
17
            This new information provides additional evidentiary support for Jones’s
18
     allegations but does nothing to alter the legal bases of the claims. See Weaver v.
19
     Thompson, 197 F.3d 359, 364 (9th Cir. 1999); Chacon v. Wood, 36 F.3d 1459, 1468 (9th
20
     Cir. 1994); see also Escamilla v. Stephens, 749 F.3d 380, 395 (5th Cir. 2014) (finding
21
22          1
              The Supreme Court explained that the AEDPA “demonstrates Congress’ intent
23   to channel prisoners’ claims first to the state courts. Pinholster, 563 U.S. at 182. “It
     would be strange to ask federal courts to analyze whether a state court’'s adjudication
24   resulted in a decision that unreasonably applied federal law to facts not before the state
25   court.” Id. at 182–83; see Moore v. Mitchell, 708 F.3d 760, 785 (6th Cir. 2013)
     (“Pinholster plainly bans such an attempt to obtain review of the merits of claims
26   presented in state court in light of facts that were not presented in state
27   court. Martinez does not alter that conclusion.”).

28


                                                - 10 -
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 11 of 16



 1   Martinez inapplicable where new evidence did not fundamentally alter but “merely
 2   provided additional evidentiary support” for already-adjudicated state court claim). In
 3   Dickens, the petitioner exhausted only a “naked Strickland claim” which “did not identify
 4   any specific conditions that sentencing counsel’s allegedly deficient performance failed
 5   to uncover.” 740 F.3d at 1319. Here, by contrast, Jones argued in PCR Claim 24(I)(2)
 6   that he was prejudiced by trial counsel’s reliance on Dr. Potts, an expert appointed by the
 7   court to examine Jones and provide a report prior to sentencing, who was “untrained in
 8   the specifics of neuropsychology” and whose findings “did not reveal neurological
 9   disorders and organic mental illness.” (Doc. 247-1, Ex. A at 85.) In Claim 24(I)(3), Jones
10   alleged that trial counsel performed ineffectively by failing “to present coherent evidence
11   of Jones’s brain injuries and the resulting effects.” (Id. at 88–89.) Specifically, Jones

12   alleged that trial counsel failed to pursue neurological and neuropsychological testing that

13   could have revealed “significant frontal lobe head traumas through physical injuries and

14   drug or alcohol abuse.” (Id. at 88.)

15          Likewise, Claim 24(I)(7) contained specific allegations of ineffective assistance

16   based on trial counsel’s failure to present mitigating evidence of Jones’s “abusive
     childhood”; “organic brain injury from trauma and drug abuse,” including a “history of
17
     blackouts,” one of which occurred while he was in the military; the effects of such trauma
18
     on his behavior; and his amenability to rehabilitation. (Id. at 91 & n.9.) This evidence
19
     was available through witnesses including Jones’s ex-wife, family members, friends, and
20
     counselors, and from birth, education, military, and prison records. (Id.)
21
            The new information presented in this Court, including the experts’ opinions and
22
     the lay testimony about Jones’s social history, was contemplated in the allegations raised
23
     in state court, which is why the Court allowed evidentiary development of the claims.
24
     Thus, the evidence Jones has produced in this Court supplements but does not
25
     “fundamentally alter the legal claim already considered by the state courts . . . .” Vasquez,
26
     474 U.S. at 260.
27
            In Landrigan v. Schriro, the Ninth Circuit held that expert testimony regarding
28
     Landrigan’s organic brain dysfunction did not fundamentally alter a state claim that


                                                - 11 -
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 12 of 16



 1   counsel was constitutionally ineffective for failing “to undertake a reasonable
 2   investigation of mitigating factors, including information that could have been derived
 3   from Landrigan’s biological father and his adoptive sister.” 441 F.3d 638, 648 (9th Cir.
 4   2006), rev’d on other grounds, 550 U.S. 465 (2007), and vacated, 501 F.3d 1147 (9th
 5   Cir. 2007). The court explained that the new information “does not ‘fundamentally alter
 6   the ineffective assistance claim presented to the state court. It simply provides additional
 7   evidentiary support for the claim . . . .” Id.
 8          Similarly, in Lopez v. Schriro, 491 F.3d 1029, 1041 (9th Cir. 2007), the Ninth
 9   Circuit held that the district court erred in finding the petitioner’s ineffective assistance of
10   counsel claim was unexhausted. The court explained that “Lopez did at least make the
11   general allegations of his counsel’s lack of penalty phase preparation to the Arizona

12   Supreme Court (including improper delegation to an inexperienced subordinate and

13   failure to prepare mental health experts), and the state court record contains some

14   evidence of a dysfunctional childhood and alcoholism.” Id. The claims Jones raised in

15   state court contained more than general allegations, and they were likewise exhausted.

16          Because Jones has not raised a new legal theory concerning trial counsel’s
     performance, or placed the claim in a significantly different and stronger evidentiary
17
     posture, the PCR court had a “meaningful opportunity” to consider Jones’s claims. Id. at
18
     257; cf. Poyson v. Ryan, 879 F.3d 875, 896 (9th Cir. 2018) (finding state court did not
19
     have a meaningful opportunity to consider claim that included not only new facts but “a
20
     fundamentally new theory of counsel’s ineffectiveness”).
21
            Claims 20(O), (P), and (T) were not fundamentally altered by the new evidence
22
     Jones presented in federal court, and Martinez does not apply to these exhausted claims.
23
            B.      PCR counsel was not ineffective
24
            Even assuming, contrary to the record, that Claims 20(O), (P), and (T) are
25
     fundamentally altered and therefore unexhausted, Martinez does not excuse their default
26
     because PCR counsel did not perform ineffectively.
27
            As noted, in making the cause determination Martinez calls for the performance of
28
     PCR counsel to be analyzed under the Strickland standard. 566 U.S. at 14; see


                                                      - 12 -
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 13 of 16



 1   Clabourne, 745 F.3d at 377. “To demonstrate that the performance by PCR counsel
 2   was deficient,   [petitioner]   must    show      that   counsel’s   failure   to   raise   the
 3   underlying IAC claim did not ‘fall[ ] within the wide range of reasonable professional
 4   assistance’ and ‘overcome the presumption that, under the circumstances, the challenged
 5   action might be considered sound trial strategy.’” Murray v. Schriro, 882 F.3d 778, 816
 6   (9th Cir. 2018) (quoting Strickland, 466 U.S. at 689); see Runningeagle v. Ryan, 825 F.3d
 7   970, 984 n.15 (9th Cir. 2016) (noting that Strickland standard applies even though
 8   Martinez did not define the scope of PCR counsel’s duty to investigate). The inquiry
 9   under Strickland is highly deferential, and “every effort [must] be made to eliminate the
10   distorting effects of hindsight, to reconstruct the circumstances of counsel’s challenged
11   conduct, and to evaluate the conduct from counsel’s perspective at the time.” 466 U.S. at

12   689. To satisfy Strickland, a petitioner must overcome “the presumption that, under the

13   circumstances, the challenged action might be considered sound trial strategy.” Id.

14          As discussed above, Goldberg presented the allegations contained in Claims

15   20(O), (P), and (T) during the PCR proceedings. In support of the claims, he requested “a

16   thorough and independent neuropsychological assessment” to discover neurological and
     neuropsychological disorders and their relationship to the crime. (ROA-PCR 27 at 3, 5–6;
17
     see Doc. 121 at 39–40.) The PCR court denied his request. (See RT 4/12/99 at 26.)
18
            Goldberg also requested a mitigation specialist to locate witnesses, including
19
     neighbors, childhood friends, and fellow residents at the drug rehab clinic, to corroborate
20
     Jones’s traumatic birth, abusive childhood, head injuries, drug abuse, mental illness, and
21
     issues concerning his biological father. (ROA-PCR 24 at 3–4; see RT 4/12/99 at 15–16.)
22
     The PCR court denied the request, concluding that a private investigator could adequately
23
     conduct the mitigation investigation. (RT 4/12/99 at 16–17.)
24
            Goldberg sought an investigator with capital case experience. However, the court
25
     insisted that he retain a local investigator. Because the only qualified investigator in
26
     Mohave County was the defense investigator counsel used during trial, Goldberg agreed
27
     to retain him despite his belief that using the same investigator as trial counsel presented
28
     a conflict of interest. (RT 6/1/99 at 3–8.)


                                                   - 13 -
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 14 of 16



 1          Jones argues that Goldberg should have done more to “educate” the PCR court on
 2   the need for a neuropsychological evaluation. (Doc. 250 at 14.) Jones’s arguments,
 3   however, are conclusory and do not suggest, let alone demonstrate, that PCR counsel
 4   performed deficiently in pursuing neuropsychological evidence. (Id.) In addition, this
 5   Court has already determined that Goldberg “diligently attempted to develop
 6   neuropsychological evidence in support of [Claims 20(O), (P), and (T)],” but was
 7   prevented from doing so by the PCR court’s denial of funds for a neuropsychological
 8   examination. (Doc. 121 at 40.)
 9          Jones also contends that Goldberg performed an inadequate investigation into
10   Jones’s background, including obtaining additional records and information from lay
11   witnesses showing that Jones was sexually abused by his grandfather and that Jones’s

12   stepfather Randy was physically and emotionally abusive. (Doc. 246 at 52; Doc. 250 at

13   15.) As the Court previously found with respect to trial counsel’s performance, however,

14   PCR counsel “did not perform deficiently by failing to uncover information not shared by

15   [Jones] until nearly ten years after his trial.” (Doc. 220 at 35 n.14.) Goldberg was never

16   put on notice of these instances of physical, emotional, and sexual abuse. See Babbitt v.
     Calderon, 151 F.3d 1170, 1174 (9th Cir. 1998). Jones further contends that Goldberg did
17
     not do enough to convince the judge to appoint a new investigator. (Doc. 246 at 50–51.)
18
            In support of these allegations Jones cites Hinton v. Alabama, 134 S. Ct. 1081
19
     (2014), and Panetti v. Quarterman, 551 U.S. 930 (2007). His reliance on these cases is
20
     misplaced. In Hinton, the Supreme Court held that trial counsel performed ineffectively
21
     when he presented an unqualified expert based on a misunderstanding of the state’s
22
     funding statutes. Id. at 1089. In Panetti, the Court held that the petitioner’s due process
23
     rights were violated by the state court’s refusal to allow an examination by a defense
24
     expert to counter the court-appointed experts’ opinion that he was competent to be
25
     executed. 551 U.S. at 952. Here, Goldberg performed competently by requesting an
26
     appropriate expert and investigator.
27
            In Martinez, the Court created an equitable exception to Coleman to “protect
28
     prisoners with a potentially legitimate claim of ineffective assistance of trial


                                               - 14 -
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 15 of 16



 1   counsel . . . .” 566 U.S. at 9. Without this qualification, it is possible that “no state court
 2   at any level will hear the prisoner’s claim.” Id. at 10.   Here, Goldberg carried out his
 3   duty to investigate and preserve potentially meritorious claims of ineffective assistance of
 4   trial counsel. See Runningeagle, 825 F.3d at 984 n.15. Claims 20(O), (P), and (T) were
 5   considered by the PCR court and then, supported with new evidence, by this Court. Jones
 6   has not carried his burden of showing that Goldberg “made errors so serious that [he] was
 7   not functioning as . . . ‘counsel.’” Id. (quoting Strickland, 466 U.S. at 687).
 8          Even if Claims 20(O), (P), and (T) were procedurally defaulted, PCR counsel’s
 9   performance was not deficient and the default is not excused.
10   3.     Conclusion
11          As the Ninth Circuit has observed in discussing the performance of counsel at

12   sentencing, “There will always be more documents that could be reviewed, more family

13   members that could be interviewed and more psychiatric examinations that could be

14   performed,” Leavitt v. Arave, 646 F.3d 605, 612 (9th Cir. 2011). Any new mitigating

15   evidence will place an ineffective assistance of counsel claim in a stronger posture. In

16   this case, however, the new evidence developed in federal court did not fundamentally
     alter Jones’s state court claims, which remain exhausted. Even if the claims were
17
     unexhausted, their default would not be excused under Martinez because PCR counsel
18
     did not perform ineffectively.
19
            Accordingly, the Court rejects “Jones’s argument that his ineffective assistance of
20
     counsel claims are unexhausted and therefore procedurally defaulted, and that deficient
21
     performance by his counsel during his post-conviction relief case in state court excuses
22
     the default.” (Doc. 240-2.)
23
     ///
24
     ///
25
     ///
26
     ///
27
     ///
28


                                                 - 15 -
     Case 2:01-cv-00384-SRB Document 255 Filed 05/24/18 Page 16 of 16



 1         Having considered Jones’s claims under Martinez and Dickens, this Court has not
 2   changed its conclusion that Claims 20(O), (P), and (T) be dismissed with prejudice.
 3
 4         Dated this 24th day of May, 2018.
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               - 16 -
